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UNITED sTATEs oF AMERIQA

v.
2 : (Conspiracy to Distribute and
MONTANA BARRONETTE, : Possess With Intent to Distribute a
TERRELL SIVELLS, : Controlled Substance, 21 U.S.C.
TAURUS TILLMAN, `\ : § 846; Distribution and Possession
HISAUN CHATMAN, : With Intent to Distribute a
a/k/a HISUAN CHATMAN, and : Controlled Substance, 21 U.S.C. §
JAMES WOODFOLK : 841(a)(1); Aiding and Abetting, 18
° U.S.C. § 2)
Defendants
...000...
INDICTMENT
COUNT ONE

(Conspiracy to Distribute and PoSsess with Intent to Distribute Heroin)
l. The Grand Jury for the District of Maryland charges that:
From in or about May 2014, and continuing until in or about November 2016, in the

District of Maryland and elsewhere,

MONTANA BARRONETTE,
TERRELL SIVELLS,
TAURUS TILLMAN,
HISAUN CHATMAN,

a/k/a HISUAN CHATMAN, and
JAMES WOODFOLK

the defendants herein, did knowingly, willfully, and unlawfully combine, conspire, confederate,
and agree with each other and with others known and unknown to the Grand Jury to knowingly,
intentionally, and unlawfully distribute and possess with intent to distribute a quantity of a mixture
or substance containing a detectable amount of heroin, a Schedule I controlled substance, in

violation 0f2l U.S.C. § 84l(a)(l).

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Quantity of Controlled Substances Involved in the Conspiracy

2. With respect to MONTANA BARRONETTE, TERRELL SIVELLS, and
TAURUS TILLMAN, the amount involved in the conspiracy attributable to each of them as a
result of their own conduct, and the conduct of other conspirators reasonably foreseeable to them,
is one kilogram or more of a mixture or substance containing a detectable amount of heroin.

3. With respect to I~lISAUN CHATMAN, a/k/a HISUAN CHATMAN, and
JAMES WOODFOLK, the amount involved in the conspiracy attributable to each of them as a
result of their own conduct, and the conduct of other conspirators reasonably foreseeable to them,

is a quantity of a mixture or substance containing a detectable amount of heroin.

21 U.S.C. § 846

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C_OU_NT_ILV_Q
(Distribution and Possession with Intent to Distribute Heroin)

The Grand Jury for the District of Maryland further charges that:
On or about August ll, 2016, in the District of Maryland,

TERRELL SIVELLS and
HISAUN CHATMAN,
a/k/a HISUAN CHATMAN,
defendants herein, did knowingly, intentionally and unlawfully distribute and possess with intent
to distribute a quantity of a mixture or substance containing a detectable amount of heroin, a

Schedule I controlled substance.

21 U.s.C. § 841(3)(1)
18 U.s.c. § 2

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MILR_EL
(Distribution and Possession with Intent to Distribute Heroin)

The Grand Jury for the District of Maryland further charges that:
On or about October 31, 2016, in the District of Maryland,
TAURUS TILLMAN,
a defendant herein, did knowingly, intentionally and unlawfully distribute and possess with
intent to distribute a quantity of a mixture or substance containing a detectable amount of heroin,

a Schedule I controlled substance.

21 U.s.C. § 841(3)(1)
18 U.s.c. § 2

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COUNT FOUR
(Distribution and Possession with Intent to Distribute Heroin)

The Grand Jury for the District of Maryland further charges that:
On or about November 2, 2016, in the District of Maryland,

TAURUS TILLMAN,

a defendant herein, did knowingly, intentionally and unlawfully distribute and possess with

intent to distribute a quantity of a mixture or substance containing a detectable amount of heroin,

a Schedule l controlled substance.

21 U.s.C. § 841(3)(1)

 

 

18 U.S.C. § 2
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United States Attomey
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